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                  IN THE UNITED STATES DISTRICT COURT.
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                  "'~.-




GARY WILLIAMS,· et al

                                                   CIVIL ACTION

           vs.
                                                   NO. 14-6727
U-HAUL INTERNATIONAL, INC., et
al

                                0 R D E R



          AND NOW, TO WIT: This 15th day of June, 2017,
it having been reported that the issues between the parties in
the above action has been settled and upon Order of the Court
pursuant to the provisions of Rule 41.l(b) of the Local Rules of
Civil Procedure of this Court (effective January 1, 1970), it is

          ORDERED that the above action is DISMISSED with "
prejudice, pursuant to agreement of counsel without costs.




                                     KATE BARKMAN, Clerk of Court
          FILED
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                                            ---;        ~
                                     BY:
                                                   ~riYSCO\t
                                                   Deputy Clerk




Civ 2 (7/83)
41. l(b)
